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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                            4:14CR3054
    vs.
                                                        ORDER
MAGALITA GELIN,
                Defendant.


    IT IS ORDERED that:

    1.    The defendant's unopposed motion to continue sentencing date
          (filing 67) is granted.

    2.    Defendant Magalita Gelin's sentencing is continued to March 27,
          2015, at 2:00 p.m., before the undersigned United States District
          Judge, in Courtroom No. 1, Robert V. Denney United States
          Courthouse and Federal Building, 100 Centennial Mall North,
          Lincoln, Nebraska. The defendant shall be present at the
          hearing.

    Dated this 21st day of January, 2015.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
